AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                             for the
                                                 Southern District ofNew York


                     RAFAEL SANCHEZ,                           )
                                                               )
                                                               )
                                                               )
                            P!ai11tiff(s)                      )
                                 v.                            )       Civil Action No. 19-cv-5599
                                                               )
    R.Q. REALTY MGT. LTD. and RAUL QUIROZ,                     )
                                                               )
                                                               )
                                                               )
                           Defe11da11t(s)                      )

                                                SUMMONS IN A CIVIL ACTION

To: (Defe11da11t's11amea11daddress) R.Q. REALTY MGT. LTD.
                                    RAUL QUIROZ,
                                    995 Amsterdam Avenue
                                    New York, New York 10025



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                  Michael Taubenfeld, Esq.
                                  Fisher Taubenfeld LLP
                                  225 Broadway, Suite 1700
                                  New York, NY 10007
                                  (212) 571-0700
         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          CLERK OF COURT


Date: -----------
         06/20/2019                                                                          /s/ D. Howie
                                                                                    Signature of Clerk or Depllly Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name ofindividual and title, if a11y)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or
                        --------
           0 I served the summons on (name ofindividrial)                                                                     , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                           ; or
          ------------------------
           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):




           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this infonnation is true.


Date:
                                                                                             Server's signature



                                                                                         Printed name a11d title




                                                                                             Server's address

Additional infonnation regarding attempted service, etc:
